              Case 8:23-cr-00079-DOC Document 8 Filed 06/20/23 Page 1 of 7 Page ID #:36

                                                         UNITED STATES DISTRICT COURT
                                                        CENTRAL DISTRICT OF CALIFORNIA

                                                          CRIMINAL MINUTES -ARRAIGNMENT
 Case Number: 8:23-CR-00079-DOC                                      Recorder: CS 06/20/2023                                         Date: 06/20/2023

Present: The Honorable John D. Early, U.S. Magistrate Judge

 Court Clerk: Maria Ban                                                               Assistant U.S. Attorney: Jennifer Waier

 United States of America v.                        Attorney Present for Defendants)                          Language                       Interpreter
 SARA JACQUELINE KING                               Samuel Cross, DFPD
      Summons                                             appointed




PROCEEDINGS: ARRAIGNMENT OF DEFENDANTS)AND ASSIGNMENT OF CASE AND INITIAL APPEARANCEAND APPOINTMENT OF
COUNSEL HEARING.

Deft is arraigned and states true name is the name on the charging document.




Defendant is given a copy of the Information and acknowledges having been read or having received a copy of the Information and waives the reading
thereof.
The Court appoints Samuel Cross, DFPD,as counsel for all further proceedings for defendant.

Financial affidavit is submitted and filed.

Defendant's first appearance.
Bond is ordered in the amount of a 5,000 See attached copy of the bond. Court orders defendant to report to the U.S. Marshal's Office forthwith for
processing.

Waiver of Indictment submitted, accepted by the Court and filed.

Defendant pleads not guilty to all counts in the Information.

This case is assigned to the calendar of District Judge David O. Carter.
It is ordered that the following dates) and times)are set:
         Jury Trial 8/15/2023 at 8:30 AM
         Status Conference 7/24/2023 at 1:30 PM
         Defendant and counsel are ordered to appear before said judge at the time and date indicated.



Counsel are ordered to contact the clerk regarding setting a date for guilty plea.

Trial estimate: 7 days.

Court issues Order under Fed. R. Crim. P. 5(fl concerning prosecutor's disclosure obligations; see General Order 21-02 (written order).




                                                                                                                          First Appearance/Appointment of Counsel: : 02
                                                                                                                                                             PIA: 00:28
                                                                                                                                            Initials of Deputy Clerk: m
cc: Statistics Clerk,PSALA PSASA,USMSA




               CR-85 (09/12)                                         CRIMINAL MINUTES -ARRAIGNMENT                                              Page 1 of 1
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                 UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

   Case Name: United States of America v. Sara Jacqueline King                                      Case No. 8:23-cr-00079-DOC
                                              Q
                                              i Defendant       ~ Material Witness

   Violation of Title and Section: 18:1343; 18:1957

                                        Summons       ~ Out of District ~ iJNDER SEAL ~ Modified Date:

   Check only one ofthefive numbered boxes below and any appropriate lettered box (unless one bond is to be replaced by another):
   1.      Personal Recognizance (Signature On y)        (c).Q Affidavit of Surety With Justification        Release Date•    (,,~(~~
   2. ❑ Unsecured APPearance Bond                             (Form CR-s) Signed by:
                                                                                                               ~ Released by:
        $
                                                                                                            0
   3.[~ Appea
        $ ~  fia~
                nce ~
                    Bond                                                                                    (Judge /Clerk's Initials)
                                                                                                            Release to U.S. Probation
     (a).~ Cash Deposit(Amount or %)(Form CR-~)                                                             and Pretrial Services ONLY
                                                                  ~ With Full Deeding of Property:
                                                                                                            Forthwith Release
    (b).~ Affidavit of Surety Without
          Justification (Form CR-4) Signed by:
              M ~GhG~t \Lisa
                                                                                                                   All Conditions of Bond
                                                                                                                   (ExceptClearing-Warrants
                                                                                                                    Condition) Must be Met
                                                                                                                   and Posted by:
                                                                                                           ,u(1z.~2 r.,~.~~ `~,
                                                       4.~ Collateral Bond in the Amount of(Cash               ❑ Third-Party Custody
                                                           or Negotiable Securities):                            Affidavit(Form CR-31)

                                                             $                                                 Q Bail Fixed by Court:
                                                       5. ❑Corporate Surety Bond in the Amount of:             iDE           / mba
                                                                                                                  (Judge /Clerk's Initials)


                                                    PRECONDITIONS TO RELEASE
        The government has requested a Nebbia hearing under 18 U.S.C. g 3142(g)(4).

        The Court has ordered a Nebbia hearing under § 3142 (g)(4).
        The Nebbia hearing is set for                                  at            ❑ a.m. ❑ p.m.

                                               ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE,the following conditions of release are imposed upon you:

   Submit to United States Probation and Pretrial Services supervision as directed by Supervising Agency.

   Surrender all passports and travel documents to Supervising Agency no later than ~+ a ~T.~~,`j ~(~~,sign a Declaration
    re Passport and Other Travel Documents(Form CR-37), and do not apply for a passport or other travel document during the pendenry

   of this case.
   Travel is restricted to    ~`L A n,,~~ ~~`~~                                            unless prior permission is granted by Supervising
   Agency to travel to a specific other location. Court permission is required for international travel as well as for any domestic travel if the

   defendant is in a Location Monitoring Program or as otherwise provided for below.

   Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.


                                                                                 Defendant's Initials: ;~~~~         Date
                                                                            RELEASE ORDER AND                                            105
                 Case 8:23-cr-00079-DOC Document 8 Filed 06/20/23 Page 3 of 7 Page ID #:38
     Case Name: United States of America v. Sara Jacqueline King                                     Case No. 8:23-cr-00079-DOC
                                                ■ Defendant
                                                Q                  ~ Material Witness

        Maintain or actively seek employment unless excused by Supervising Agency for schooling,training, or other reasons approved by

         Supervising Agency. Verification to be provided to Supervising Agency. ~ Employment to be approved by Supervising Agency.

        Avoid all contact, directly or indirectly (including by any electronic means), with any known victim or

         witness in the subject investigation or prosecution, Q including but not limited to

                                                             ;~ exceptfor
        Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence

        of counsel. Notwithstanding this provision, you may have contact with the following codefendants without your counsel present:



        Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. ~ Surrender any such item as
        directed by Supervising Agency by                                and provide proof to Supervising Agency. ~ In order to determine
        compliance, you agree to submit to a search of your person and property by Supervising Agency, which maybe in conjunction

        with law enforcement.

       Do not use or possess any identification, mail matter, access device (including, but not limited to, credit and debit cards), or any

        identification-related material other than in your own legal or true name without prior permission from Supervising Agency.

               In order to determine compliance, you agree submit to a search of your person and property by Supervising Agency,
        which maybe in conjunction with law enforcement.

       Do not engage in telemarketing.

       Do not sell, transfer, or give away any asset valued at $                                 or more without notifying and obtaining

        permission from the Court, except

       Do not engage in tax preparation for others.

  ~Do not use alcohol. ~ Submit to alcohol testing. If directed to do so, participate in outpatient treatment as approved by Supervising

        Agency. Testing may include any form ofprohibited-substance screening or testing. You must pay all or part of the costs for testing

        based upon your ability to pay as determined by Supervising Agency.

  ~Do not use or possess illegal drugs or state-authorized marijuana.           Submit to drug testing. Testing may include any form of

       prohibited-substance screening or testing. You must pay all or part ofthe costs for testing based upon your ability to pay as

        determined by Supervising Agency. If directed to do so, participate in outpatient treatment as approved by Supervising Agency.

       ~In order to determine compliance, you agree to submit to a search of your person and property by Supervising Agency, which may

        be in conjunction with law enforcement.

 ~Do not use for purposes ofintoxication any controlled substance analogue as defined by federal law or any street, synthetic, or
       designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
       prescribed by a medical doctor.

      Participate in residential substance abuse treatment as directed by Supervising Agenry. You must pay all or part of the costs
       of treatment based upon your ability to pay as determined by Supervising Agency. ~Release to Supervising Agency only.

      Participate in mental health treatment, which may include evaluation, counseling, or treatment as directed by Supervising Agency.

       You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.




                                                                                 Defendant's Initials: ~ ~            Date:    ~01~~ ~- ~
cR-i (i2/zz)                              CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND                                     PAGE 2 OF 6
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    Case Name: United States of America v. Sara Jacqueline King                                         Case No. 8:23-cr-00079-DOC

                                                ~
                                                i Defendant         ~ Material Witness

        Participate in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated
        restrictions, under the direction ofthe Supervising Agency. You must pay all or part of the costs of the program based upon your ability
        to pay as determined by the Supervising Agency. You are financially responsible for any lost or damaged equipment.


        1. Location Monitoring Restrictions (Select Onel

               Location Monitoring only - no residential restrictions


               Curfew: Curfew requires you to remain at home during set time periods.(Select One)
                    As directed by Supervising Agency; or
                    You are restricted to your residence every day from                                to
               Home Detention: Home detention requires you to remain at home at all times except for employment, education,

               religious services, medical needs or treatment, attorney visits, court appearances and obligations, essential needs, and

                                                                     all of which must be preapproved by the Supervising Agency.

               Home Incarceration: Home Incarceration requires you to be at home 24 hours a day except for medical needs or treatment,

               attorney visits, court appearances or obligations, and                                              all of which must
               be preapproved by Supervising Agency.

       2. Location Monitoring Technology(Select One)

               Location Monitoring technology at the discretion of the Supervising Agency. (If checked,skip to 3)


               Location Monitoring with an ankle monitor (Select one below)

                   at the discretion of the Supervising Agency or
                   Radio Frequency(RF)or

                   Global Positioning System (GPS)

       or

               Location Monitoring without an ankle monitor (Select one below)

                   at the discretion of the Supervising Agency or

                   Virtual/Biometric(smartphone required to participate) or

                   Voice Recognition (landline required to participate)


       3. Location Monitoring Release Instructions (Select One)

               Release to Supervising Agency only or ~ Enroll in the location monitoring program within 24 hours of release.


       You are placed in the third-party custody(Form CR-31) of
       Clear outstanding ~ warrants or ~ DMV and traffic violations and provide proof to Supervising Agency within                       days
        of release from custody.



                                                                                  Defendant's Initials: ~~'L           Date:     l.I'
CR-1 (12!22)                              CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND                                         PAGE 3 OF 6
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                                               Q Defendant        ~ Material Witness

        Possess and use only those digital devices, screen usernames, email accounts, social media accounts, messaging applications
         and cloud storage accounts, as well as any passwords or passcodes for all such digital devices and accounts, that you disclosed

         to Supervising Agency upon commencement of supervision. You must disclose any new devices, accounts, application, passwords,
         or passcodes to Supervising Agency prior to the first use. A digital device is any electronic system or device that can access, view,

         obtain, store, or transmit digital data. ~ In order to determine compliance, you agree to submit to a search of your person and
         property, including digital devices, by Supervising Agency, which may be- in conjunction with law enforcement.

        All digital devices wIll be subject to monitoring by Supervising Agency. You must comply with the rules and regulations

         ofthe Computer Monitoring Program and must pay the cost of the Computer Monitoring Program.

        Do not use or possess more than one virtual currency wallet/account, and that one wallet/account must be used for all virtual
         currency transactions. Do not obtain or open a virtual currency wallet/account without prior approval of Supervising Agency.

         You must disclose all virtual currency wallets/accounts to Supervising Agency when supervision starts and must make them available
        to Supervising Agency upon request. You may use or possess only open public blockchain virtual currencies and are prohibited from

         using private blockchain virtual currencies unless prior approval is obtained from Supervising Agency. ~ In order to determine

         compliance, you agree to submit to a search of your person and property, including computer hardware and software, which may
         be in conjunction with law enforcement.

    Cases Involving aSex-Offense Allegation
       Possess and use only those digital devices, screen usernames, email accounts, social media accounts, messaging applications_
        and cloud storage accounts, as well as any passwords or passcodes for all such digital devices and accounts,that you disclosed

        to Supervising Agency upon commencement of supervision. You must disclose any new devices, accounts, application, passwords, or
        passcodes to Supervising Agency prior to the first use. A digital device is any electronic system or device that can access, view, obtain,

        store, or transmit visual depictions of sexually explicit conduct involving children. ~ In order to determine compliance, you agree to

        submit to a search of your person and properly, including digital devices, by Supervising Agency, which maybe in conjunction with
        law enforcement.
       All digital devices will be subject to monitoring by Supervising Agenry. You must comply with the rules and regulations
        ofthe Computer Monitoring Program and must pay the cost of the Computer Monitoring Program.

       Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person under the age of 18
        except in the presence of the parent or legal guardian of the minor after you have notified the parent or legal guardian of the

        pending charges or convictions involving a sex offense and only as authorized by Supervising Agency

       Do not enter or loiter within 100 feet of schoolyards, parks, public swimming pools, playgrounds, youth centers, video arcade
        facilities, amusement and theme parks, or other places frequented by persons under the age of 18 and only as authorized to do so

        by Supervising Agency.
       Do not be employed by, affiliated with, own,control, or otherwise participate directly or indirectly in the operation of any daycare
       facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.

       Do not view or possess child pornography or child erotica, including but not limited to pictures, photographs, books, writings,

       drawings, or videos depicting or describing child pornography. ~ In order to determine compliance, you agree to submit to a

       search of your person and property, including computer hardware and software, by Supervising Agency, which may be in conjunction
       with law enforcement..

                                                                                 Defendant's Initials: /'~,'(~~        Date:
CR-1 (12/22)                            CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                  PAGE 4 OF 6
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       Case Name: United States of America v. Sara Jacqueline King                                        Case No. 8:23-cr-00079-DOC

                                                  Q Defendant       ~ Material Witness


          Other conditions:




                                                 GENERAL CONDITIONS OF RELEASE

    I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entifled matter as
    may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
    United States District Court to which I may be removed or to which the case maybe transferred.

    I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
    direction in connection with such judgment as the Court may prescribe.

    I will immediately inform United States Probation and Pretrial Services and my counsel of any change in my contact information,
    including my residence and telephone number,including cell phone number,so that I may be reached at all times.

    I will not commit a federal, state, or local crime during the period of release. I will inform Supervising Agency oflaw enforcement
    contact within 72 hours of being arrested or questioned by a law enforcement officer.

    I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
    tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
    subject to further prosecution under the applicable statutes.

    I will cooperate in the collection of a DNA sample under 42 U.S.C. g 14135a.



                                                                                  Defendant's Initials:                Date: GA r,~
CR-1 (12/22)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                  P GE 5 OF 6
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       Case Name: United States of America v. Sara Jacqueline King                                        Case No. 823-cr-00079-DOC
                                                    0 Defendant         ~ Material Witness


                                      ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

      As a condition of my release on this bond, pursuant to Title 18 of the United States Code,I have read or have had interpreted to me
      and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
      all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

      Furthermore,it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
      continue in full force and effect until such time as duly exonerated.

      I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
      release, an order of detention, and a new prosecution for an additional offense which could result in a term ofimprisonment and/or
      fine.

     I further understand that ifI fail to obey and perform any of the general and/or additional conditions of release ofthis bond,this bond
     maybe forfeited to the United States of America. If said forfeiture is not set aside,judgment may be summarily entered in this
     Court against me and each surety,jointly and severally,for the bond amount,together with interest and costs. Execution of the
     judgment maybe issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws ofthe
     United States, and any cash or real or personal property or the collateral previously posted in connection with this bond maybe
     forfeited.



                                                            '
                                                            /f
       G~~ ~~ ~'3                                                                                         (cal ~ ~ '~ ~}c,~- — q~
                                                                                                                                '
                                                                                                                                j ~~~
     Date                                   Signature ofD endant/Material Witness                         Telephone Number




     City and State(DO NOTINCLUDE ZIP CODE)




          Check if interpreter is used: I have interpreted into the                                                 language this entire form
          and have been told by the defendant that he or she understands all of it.



     Interpreter's Signature                                                                          Date



     Approved:
                               United States District Judge /Magistrate Judge                         Date

     Ifcash deposited: Receipt #                                for $


    (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                  Defendant's Initials:               Date:   tl"' ~ .~
CR-1 (12/22)                               CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                              PAGE 6 OF 6
